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            EXHIBIT D
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 Privacy Policy | MEAWW
   meaww.com/page/privacy



 MEAWW Privacy Policy

 Last Updated: May, 2018

 This Policy explains how we protect and handle any information you provide to us,
 including via our websites, mobile apps, communications by email and through social
 media, by telephone and in person. It also covers information we receive from third parties.
 It also provides you with an overview of the rights you can exercise regarding what we do
 with your information.

 By using our products and services, including browsing our websites, registering or logging
 in, we may use your information as outlined in this Policy.

 Eleven Internet Services LLP (doing business as MEA WorldWide), ( “MEA WorldWide” ,
 “we” , or “us” ) wants you to be familiar with how we collect, use and disclose information.
 This Privacy Policy describes our practices in connection with information that we collect
 through websites operated by us from which you are accessing this Privacy Policy (the
 “Websites” ), through the software applications made available by us for use on or through
 computers and mobile devices (“Apps” ), and through our social media pages and apps
 (“Social Media Pages” ) as well as any email messages we send that link to this Privacy
 Policy (collectively, the Websites, Apps, our Social Media Pages and email messages are
 hereinafter referred to as the “Services” ) . Your use of the Services constitutes your
 acceptance of this Privacy Policy.

 1. The Information We Collect and Use
 We collect and receive information about users in a few different ways:

 A. Non-Personally Identifiable Information.
 When you use any of the Services, we may collect certain data that does not tell us
 specifically who you are. This is “Non-Personally Identifiable Information.” Non-Personally
 Identifiable Information includes things such as but not limited to your browser type and
 device information, App usage data, information that has been aggregated in a manner that
 it no longer reveals your specific identity, demographic information, IP addresses, and
 other information you provide that does not reveal your specific identity, and the last
 domain you visited before coming to our Service or the domain you go to when you leave. It
 also includes various statistical data such as which pages you visit by using our Services,
 how long you stay on them, and what you click.
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 What is a cookie and how we use it?
 We may place a “cookie” on your computer. A cookie is a small amount of data, which often
 includes an anonymous unique identifier, sent to your browser from a website’s computers
 and stored on your computer’s hard drive. We may use cookies to, among other things, keep
 track of your choice of language and home page preference, to select which of our
 advertisements or offers are most likely to appeal to you and display them while you are
 using the Services, for purposes of tracking responses to our online advertisements, , for
 security purposes, to facilitate navigation, and to gather usage data that will help us
 generally improve the quality of the Services. There is a simple procedure in most browsers
 that allows you to deny or accept cookies. You should note that cookies may be necessary to
 provide you with certain features of the Services.

 We may use Flash Local Shared Objects ( “Flash LSOs” ) and other similar technologies to,
 among other things, collect and store information about your use of the Services. If you do
 not want Flash LSOs stored on your computer, you can adjust the settings of your Flash
 player to block Flash LSO storage by visiting: ( Macromedia Support )

 Please note that setting the Flash Player to restrict or limit acceptance of
 Flash LSOs may reduce or impede the functionality of some Flash
 applications.
 When you download and use the App, we and our service providers may track and collect
 App usage data, such as the date and time the App on your device accesses our servers and
 what information and files have been downloaded to the App based on your device number.

 We may collect the physical location of your device by, for example, using satellite, cell
 phone tower or Wi-Fi signals. We may use your device’s physical location to provide you
 with personalized location-based services and content. We may also share your device’s
 physical location, combined with information about what advertisements you viewed and
 other information we collect, with our marketing partners to enable them to provide you
 with more personalized content and to study the effectiveness of advertising campaigns. In
 some instances, you may be permitted to allow or deny such uses and/or sharing of your
 device’s location, but if you do, we and/or our marketing partners may not be able to
 provide you with the applicable personalized services and content.

 NOTE: Where you use our services, cookies and similar technologies are used for analytics.
 Such analytics do not personally identify you. It is not presently possible to opt-out of these
 cookies and similar technologies. If you do not want to be included in our analysis, please
 do not use our apps.

 If we are required to treat Non-Personally Identifiable Information as
 Personally Identifiable Information under applicable law, then we may use
 and disclose it for the purposes for which we use and disclose Personal
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 Information as detailed in this Privacy Policy.

 B. Personally Identifiable Information.
 We and our services providers also may collect information that can be used to identify you
 ( “Personally Identifiable Information” ). We only collect Personally Identifiable
 Information when you specifically provide it to us. For example, in connection with your
 use of the Services you may be asked to create a user account and provide certain
 information including your name, email addresses, address, and telephone number. When
 you create a user account with a meaww.com website and sign in to your account using the
 Services or post user uploaded information, you are not anonymous to us. In addition, we
 may collect Personally Identifiable Information through our Social Media Pages, including
 your social media profile picture and account ID; and from other sources, such as public
 databases, joint marketing partners, social media platforms (including from people with
 whom you are friends or otherwise connected) and from other third parties. If you elect to
 connect your social media account to your Services account, certain Personally Identifiable
 Information from your social media account will be shared with us, which may include
 Personally Identifiable Information that is part of your profile or your friends’ profiles.
 If you disclose any Personally Identifiable Information relating to other people to us or to
 our service providers in connection with the Services, you represent that you have the
 authority to do so and to permit us to use the information in accordance with this Privacy
 Policy.

      To respond to your inquiries and fulfill your requests, complete your transactions, and
      provide you with related customer service.
      To send administrative information to you, such as changes to our terms, conditions
      and policies, as well as marketing communications that we believe may be of interest.
      To personalize your experience using the Services by presenting products and offers
      tailored to you, and to facilitate social sharing functionality.
      To allow you to participate in sweepstakes, contests and similar promotions and to
      administer these activities. Some of these activities have additional rules containing
      information about how we use and disclose your Personally Identifiable Information.
      For our business purposes, such as data analysis, audits, fraud monitoring and
      prevention, developing new products, enhancing, improving or modifying the
      Services, identifying usage trends, determining the effectiveness of our promotional
      campaigns, and operating and expanding our business activities.

 Your Personally Identifiable Information and Non-Personally Identifiable Information may
 be disclosed as follows:

      By you, on message boards, chat, profile pages and blogs and other services to which
      you are able to post information and content (including, without limitation, our Social
      Media Pages).
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      To unaffiliated companies or individuals for market research, product development or
      similar purposes. These companies or individuals may be provided with access to
      Personally Identifiable Information Non-Personally Identifiable Information, but we
      will require by contract that they agree to maintain the confidentiality, security and
      integrity of such information.
      To companies and individuals such as third party service providers to do work on our
      behalf; they may be provided with access to Personally Identifiable Non-Personally
      Identifiable Information, but only as needed to perform their functions. To third
      parties, who may contact you to offer products and services. At any time, you can
      contact us by using the contact information provided in Section 6 of this Privacy
      Policy to request that we not share your Personally Identifiable Information with third
      parties.
      To third-party sponsors of sweepstakes, contests and similar promotions.
      To third parties in connection with a corporate transaction where all or a portion of
      our business (e.g., a portion that includes our customer lists) is sold or transferred.
      We also may disclose your Personally Identifiable Information if disclosure is required
      by law, which may include laws outside your country of residence, or as part of a
      lawsuit or government investigation or proceeding, or in order to permit us to exercise
      or preserve our legal rights or take action regarding potentially illegal activities or to
      protect the safety of any person.
      To your friends associated with your social media account, to other website users and
      to your social media account provider, in connection with your social sharing activity.
      By connecting your Services account and your social media account, you authorize us
      to share information with your social media account provider, and you understand
      that the use of the information we share will be governed by the social media
      provider’s privacy policy.

 In addition to the uses otherwise set forth herein, we may use and disclose your Non-
 Personally Identifiable Information for any purpose, except where we are required to do
 otherwise under applicable law.

 Legal basis for processing information:

 The legal basis for these processing activities include consent, contractual necessity, and our
 legitimate interests or those of others, as further described below:

 Contractual Necessity:
 We process the following categories of Personal Data because we need to process the data to
 perform under our User Agreement with you, which enables us to provide you with the
 Service. When we process data due to contractual necessity, failure to provide such Personal
 Data will result in your inability to use some or all portions of the Service that require such
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 data as contact information, user account information, financial account information,
 transaction information and user content.

 Legitimate Interest:

 We process data such as contact, financial, user account and transaction information, user
 content, partner information, when we believe that it furthers our or third parties legitimate
 interests. It could be for operations, improvement of user experience, improvement of our
 services or compliance with legal obligations.

 Consent:
 As identified above, in some cases we may process personal data based on the consent you
 expressly grant to us at the time of sharing this information. When we process personal data
 based on your consent, it will be expressly indicated to you at the point and time of
 collection.

 Other possible processing grounds:
 From time to time, we may also need to process personal data to comply with a legal
 obligation, or if it is necessary to protect the vital interests of you or other data subjects, or if
 it is necessary for a task carried out in public interest.

 2. Third Party Services
 This Privacy Policy does not address, and we are not responsible for, the privacy,
 information, or other practices of any third parties, including any third party operating any
 website or service to which the Services link. The inclusion of a link on the Services does not
 imply endorsement of the linked site or service by us or by our affiliates. In addition, we are
 not responsible for the information collection, use, disclosure or security policies or
 practices of other organizations, such as Google, Facebook or any other app developer,
 social media platform provider, operating system provider, wireless services provider, or
 device manufacturer, including with respect to any Personally Identifiable Information you
 disclose to other organizations through or in connection with the Services. Following is the
 current list of third party tracking services that we use currently along with their respective
 privacy policies and opt out mechanisms, if you wish to do so. Please note we reserve the
 right to change this list at any time.

 3. Internet Advertising
 Our ability to provide free content and services depends on advertising. Some of our ads are
 displayed based on the page visited, but many of our ads are targeted to you based on your
 interests and other information we have about you. Some of our service providers use
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 cookies or other methods to gather information regarding your use of our Services. Such
 third parties may use these cookies or other tracking methods for their own purposes by
 relating information about your use of our Services with any of your Personally Identifiable
 Information that they may have. The use of such information by a third party depends on
 the privacy policy of that third party. We and our advertisers use cookies and similar
 technologies to collect information for advertising purposes, such as which advertisements
 were viewed, how often they were clicked, and device location information to provide you
 with content and advertising that might be of particular interest to you. You may also
 request to opt-out of an advertiser’s use of cookies by visiting the National Advertising
 Initiative ( http://optout.networkadvertising.org/?c=1#!/ ) or the Digital Advertising
 Alliance ( http://optout.aboutads.info/?c=2#!/ ) . If you are concerned about third party
 cookies generated by advertisers, you can turn also these off by going to Your Online
 Choices ( http://www.youronlinechoices.com/uk/ ). If you opt out of such cookies, you will
 continue to receive advertisements, but those advertisements will no longer be personalized
 for you. Following is a list of all our current advertising partners along with their privacy
 policy links. Please note we reserve the right to change this list at any time.

      Google - https://policies.google.com/technologies/ads
      Facebook - https://developers.facebook.com/docs/audience-network/policy
      Pulsepoint - http://www.pulsepoint.com/privacy-policy
      Oath - http://privacy.aol.com/
      DistrictM - https://districtm.net/en/page/data-and-privacy-policy/
      Sovrn - https://www.sovrn.com/privacy-policy/
      Appnexus, Inc. - https://www.appnexus.com/en/company/platform-privacy-policy-
      de#choices
      OpenX - https://www.openx.com/page/privacy-policy/
      Taboola, Inc.- https://www.taboola.com/privacy-policy
      Index Exchange. - http://www.indexexchange.com/privacy/
      Rhythymone - https://www.rhythmone.com/brand-safety-
      policy#hvk3F2pj7KbijY9H.97
      Rumble - https://rumble.com/s/privacy.html
      Monetisemore - https://pubguru.com/privacy-policy/
      Brealtime - http://www.brealtime.com/privacy-policy/
      Amazon A9 - https://www.a9.com/privacy/

 Most browsers provide you with the ability to block, delete, or disable cookies, and your
 mobile device may allow you to disable transmission of device identifiers. If you choose to
 reject cookies or block device identifiers, some features of the Services may not be available
 or some functionality may be limited or unavailable. Please review the help pages of your
 browser or mobile device for assistance with changing your settings. We do not currently
 respond to browser do-not-track signals.
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 4. Data Security
 We seek to use reasonable organizational, technical and administrative measures to protect
 Personally Identifiable Information within our organization. No data transmission or
 storage system can be guaranteed to be 100% secure. If you have reason to believe that your
 interaction with us is no longer secure, please immediately notify us in accordance with
 Section 6 below.


 5. Children
 Our website, apps, other products or services are not directed at children under the age of
 13 and we endeavor not to knowingly collect any Personally Identifiable Information from
 children under the age of 13.

 If you are under the age of 13, we request that you do not provide us with your information
 and do not use our websites and apps.

 If you are aged 13, 14 or 15, we request that you seek your parent or guardian’s permission
 before providing us with your information or using our websites or apps.

 If you are a parent or guardian of a child under 13, please contact us at [email protected], if
 you are aware that your child has used our websites or apps or otherwise provided their
 information to us without your consent. We will delete or otherwise cease processing your
 child’s personal information within a reasonable time.

 6. Your Data Subject Rights
 You may contact us at [email protected] if at any time you would like to access, amend,
 erase, export (i.e. data portability), or object to or restrict the processing of the Personally
 Identifiable Information we hold about you. Please contact us if you have questions or wish
 to take any action with respect to information to which this Privacy Policy applies. We will
 promptly review all such requests in accordance with applicable laws.

 Please note that we may need to retain certain information for recordkeeping purposes
 and/or to complete any transactions that you began prior to requesting a change or deletion
 (e.g., when you make a purchase or enter a promotion, you may not be able to change or
 delete the Personally Identifiable Information provided until after the completion of such
 purchase or promotion). There may also be residual information that will remain within our
 databases and other records, which will not be removed.

 Depending on where you live, you may have a right to lodge a complaint with a supervisory
 authority or other regulatory agency if you believe that we violated any of the rights
 concerning your Personally Identifiable Information. We encourage you to first reach out to
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 us at [email protected] so we have an opportunity to address your concerns directly before
 you do so.

 7. Email Communications
 If you are a registered user of MEA WorldWide and have supplied us your email address,
 you may occasionally receive emails from us relating to your account, or with respect to
 updates on new features or other changes in the Services, or for customer service purposes,
 or marketing purposes, or otherwise as shall be required in order to enable your use of our
 services. The emails that we send contain links that enable you to “unsubscribe” from such
 mailings.

 We will try to comply with your request(s) as soon as reasonably practicable. Please note
 that if you opt-out of receiving marketing-related emails from us, we may still send you
 important administrative messages, from which you cannot opt-out. For security reasons,
 we do not recommend that you send non-public personal information, such as passwords,
 credit card information, social security numbers, or bank account information to us by
 email.

 8. Retention Period
 We will retain your Personally Identifiable Information for the period necessary to fulfill the
 purposes for which your Personally Identifiable Information has been collected as outlined
 in this Privacy Policy unless a longer retention period is required by law. The criteria used
 to determine our retention periods include: (i) the length of time we have an ongoing
 relationship with you and provide the Services and related to services to you; (ii) whether
 there is a legal obligation to which we are subject; or (iii) whether retention is advisable in
 light of our legal position (such as in regard to applicable statutes of limitation, litigation or
 regulatory investigations).


 9. Personally Identifiable Information Transferred from Outside the
 U.S.
 The Service is hosted and operated in the United States (“U.S.”), with development, support
 and maintenance operations in other countries. If you are accessing the Services from
 outside the United States, please be aware that your information may be transferred to,
 stored, and processed in the United States or in any country where we have facilities or in
 which we engage service providers. This is regardless of whether is data is provided by you
 or obtained from a third party. The data protection laws of the United States might not be
 as comprehensive as those in your country. By using the Services, you consent to your
 information being transferred to countries outside of your country of residence, including
 the United States, for the purposes described in this Privacy Policy.
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 10. Changes To The Privacy Policy
 We reserve the right to change this Privacy Policy at any time. The “Last Updated” legend at
 the top of this Privacy Policy indicates when this Privacy Policy was last revised. We do not
 undertake to provide you with personal notice of any changes. In the event of material
 changes, we will provide notice by means that are reasonable under the circumstances, such
 as by posting a notice on the Services. Your continued use of the Services following the
 posting of changes to this Privacy Policy means you accept those changes.


 11. Contact Us
 If you have any questions or need to contact us for any reason relating to our Privacy policy,
 please e-mail: [email protected]

 You may also send us mail at the following address:

 Attention: Data Privacy Officer (DPO) at MEAWW

 Eleven Internet Services LLP.
 1608, 7th Cross, Opp BMTC Bus Depot,
 Agara Village 1st Sector, HSR Layout,
 Bengaluru 560102,
 Karnataka, India
